                               Case 19-25604-RAM                    Doc 56         Filed 06/24/20               Page 1 of 7
  Fill in this information to identify the case:

  Debtor 1: Judith Holmes aka Judith M Holmes aka Judith M Haynes

  United States Bankruptcy Court for the: Southern District of Florida (Miami)
  Case number: 19-25604-RAM
  Official Form 410S1
  Notice of Mortgage Payment Change                                                                                                           12/15
  If the debtor’s plan provides for payment and postpetition contractual installments on your claim secured by a security interest in the
  debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
  as a supplemental to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:        Nationstar Mortgage LLC d/b/a Mr.                       Court claim no.: 1-1
                         Cooper

 Last four digits of any number                                                  Date of payment change:
 you use to identify the debtor’s         0638                                   Must be at least 21 days after date of
                                                                                 this notice
                                                                                                                                 08/01/2020
 account:

                                                                                 New total payment:                            $1,075.02
                                                                                 Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
    Will there be a change in the debtor’s escrow account payment?
    ☐ No
    ☑ Yes      Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the
               basis for the change. If a statement is not attached, explain why:

             Current escrow payment:      $ 475.71                        New escrow payment:        $ 522.04


  Part 2: Mortgage Payment Adjustment
    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate note?

    ☑ No
    ☐ Yes     Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

              Current interest rate:                                    %        New interest rate:                             %

              Current principal and interest payment: $                        New principal and interest payment: $

  Part 3: Other Payment Change
    Will there be a change in the debtor’s mortgage payment for a reason not listed above?

    ☑ No
    ☐ Yes Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
         agreement. (Court approval may be required before the payment change can take effect.)

              Reason for change:

              Current mortgage payment: $                                         New mortgage payment: $




Official Form 410S1                                    Notice of Mortgage Payment Change
                              Case 19-25604-RAM                    Doc 56           Filed 06/24/20        Page 2 of 7



          Debtor 1: Judith Holmes aka Judith M Holmes aka Judith M Haynes                                  Case number: 19-25604-RAM

Part 4: Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

Check the appropriate box.

        I am the creditor.          X       I am the creditor’s authorized agent.
(Attach copy of power of attorney, if any.)


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and
reasonable belief.


        /s/ Ella Roberts, Esq.                                                                    Date     06/24/2020
        Signature

                         Ella                                      Roberts
Print                    First Name              Middle Name       Last Name                      Title Attorney For Secured Creditor


Company                 Albertelli Law

Address                 P.O. Box 23028
                        Number        Street

                        Tampa                    FL                  33623
                        City                     State                Zip Code

Contact Phone: 813-221-4743              Email: bkfl@albertellilaw.com




          Official Form 410S1                         Notice of Mortgage Payment Change
                Case 19-25604-RAM           Doc 56      Filed 06/24/20     Page 3 of 7


                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document to be served
upon the following parties of interest either via pre-paid regular US Mail or via electronic
notification to the parties on the attached service list, this 24th day of June, 2020.



SERVICE LIST

Judith Holmes
17720 NW 41 Avenue
Opa Locka, FL 33055

Carolina A Lombardi
Legal Services of Greater Miami, Inc.
4343 West Flagler Street #100
Miami, FL 33134

Nancy K. Neidich
www.ch13miami.com
POB 279806
Miramar, FL 33027

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130


                                                               /s/ Ella Roberts, Esq.
                                                               Ella Roberts, Esq.
                                                               FBN 0075943
                                                               813-221-4743
                                                               Albertelli Law
                                                               Attorney for Secured Creditor
                                                               PO Box 23028
                                                               Tampa, FL 33623
                                                               Facsimile: (813) 221-9171
                                                               bkfl@albertellilaw.com




Official Form 410S1               Notice of Mortgage Payment Change
                              Case 19-25604-RAM                   Doc 56        Filed 06/24/20            Page 4 of 7
                                                                                  05/26/2020                OUR INFO
                                                                                                            ONLINE
                                    8950 Cypress Waters Blvd.                                               www.mrcooper.com
                                    Coppell, TX 75019

                                                                                                            YOUR INFO
                                                                                                            CASE NUMBER
                                                                                                            1925604

                                                                                                            LOAN NUMBER
JUDITH HOLMES
17720 NW 41ST AVE
                                                                                                            PROPERTY ADDRESS
MIAMI GARDENS,FL 33055
                                                                                                            17720 NW 41ST AVENUE
                                                                                                            MIAMI GARDENS,FL 33055




Dear JUDITH HOLMES,

Why am I receiving this letter?
An escrow analysis was performed on the above referenced account.

What do I need to know?
Our records indicate your loan is currently in an active bankruptcy proceeding. The enclosed escrow account disclosure
statement is for informational purposes only and should not be construed as an attempt to collect a debt.

What do I need to do?
If you are represented by an attorney in your bankruptcy, please forward a copy of this letter to such attorney and provide such
attorney’s name, address and telephone number to us.

If you have any questions, please call us at 877-343-5602. Our hours of operation are Monday through Friday from 8 a.m. to 5 p.m.
(CT). Visit us on the web at www.mrcooper.com for more information.

Sincerely,

Mr. Cooper
Bankruptcy Department

Enclosure: Escrow Account Disclosure Statement




Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to collect a
debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property securing the loan
obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an
attempt to collect against the borrower personally or an attempt to revive personal liability.
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the
loan) that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an
attempt to collect a debt from you personally.

                                                                                                                                                 DOL
Case 19-25604-RAM   Doc 56   Filed 06/24/20   Page 5 of 7
Case 19-25604-RAM   Doc 56   Filed 06/24/20   Page 6 of 7
                                Case 19-25604-RAM                      Doc 56            Filed 06/24/20              Page 7 of 7

The change in your escrow payment** may be based on one or more of the following factors:
PAYMENT(S)                                                TAXES                                                   INSURANCE
● Monthly payment(s) received were less than              ● Tax rate and/or assessed value changed                ● Premium changed
   or greater than expected                               ● Exemption status lost or changed                      ● Coverage changed
● Monthly payment(s) received earlier or later            ● Supplemental/Delinquent tax paid                      ● Additional premium paid
   than expected                                          ● Paid earlier or later than expected                   ● Paid earlier or later than expected
● Previous overage returned to escrow                     ● Tax installment not paid                              ● Premium was not paid
● Previous deﬁciency/shortage not paid entirely           ● Tax refund received                                   ● Premium refund received
                                                          ● New tax escrow requirement paid                       ● New insurance escrow requirement paid
                                                                                                                  ● Force placed insurance premium paid

                                        Prior Year Account History and Coming Year Projections
This is a statement of the actual activity in your escrow account from 08/19 through 07/21. This statement itemizes your actual
escrow account transactions since your previous analysis statement or initial disclosure, and projects payments, disbursements, and
balances for the coming year. The projections from your previous escrow analysis are included with the actual payments and disbursements for the prior
year. By comparing the actual escrow payment with the previous projections listed, you can determine where a diﬀerence may have occurred. When applicable,
the letter 'E' beside anamount indicates that a payment or disbursement has not yet occurred but is estimated to occur as shown.

Projections are included to ensure suﬃcient funds are available to pay your taxes and /or insurance for the coming year. Under Federal
Law (RESPA), the lowest monthly balance in your escrow account should be no less than $1,044.08 or 1/6th of the total annual projected disbursement from
your escrow account, unless your mortgage documents or state law speciﬁes otherwise. Your projected estimated lowest account balance of $1,044.10 will be
reached in May 2021. When subtracted from your minimumrequired balance of $1,044.08, an Escrow Shortage results in the amount of $0.00. These
amounts are indicated with an arrow (<).
This escrow analysis is based on the assumption that all escrow advances made on your loan prior to your bankruptcy ﬁling date are included
in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other amounts that will come due after the
ﬁling of your bankruptcy case.

            Projected         Actual            Projected                Actual                         Description                   Projected            Actual
 Month      Payment          Payment          Disbursement            Disbursement                                                      Balance           Balance
                                                                                                            Start                      $1,814.16        ($842.68)
 08/19         $361.96          $392.77                 $522.00                  $0.00                    FLOOD SFR                      $1,654.12         ($449.91)
 08/19          $0.00            $0.00                     $0.00            $3,717.00*      *            HAZARD SFR                      $1,654.12       ($4,166.91)
 09/19         $361.96        $392.77*E                    $0.00                 $0.00                                                   $2,016.08       ($3,774.14)
 10/19         $469.55        $524.51*E                    $0.00                 $0.00                                                   $2,485.63      ($3,249.63)
 11/19         $469.55          $524.51                $1,370.54            $1,444.52*      *            COUNTY TAX                      $1,584.64      ($4,169.64)
 12/19         $475.71         $475.71E                    $0.00                 $0.00                                                   $2,060.35      ($3,693.93)
 01/20         $475.71         $475.71E                    $0.00                 $0.00                                                   $2,536.06      ($3,218.22)
 02/20         $475.71         $475.71E                    $0.00                 $0.00                                                    $3,011.77      ($2,742.51)
 03/20         $475.71         $475.71E                    $0.00                 $0.00                                                   $3,487.48      ($2,266.80)
 04/20         $475.71         $475.71E                    $0.00                 $0.00                                                   $3,963.19       ($1,791.09)
 05/20         $475.71          $475.71                $3,717.00            $4,273.00*      *             HAZARD SFR                       $721.90      ($5,588.38)
 05/20          $0.00         $2,746.69E                   $0.00                 $0.00          Anticipated Payments 01/19-07/19           $721.90      ($2,841.69)
 06/20         $475.71         $475.71E                    $0.00                 $0.00                                                    $1,197.61     ($2,365.98)
 07/20         $475.71         $475.71E                    $0.00                 $0.00                                                   $1,673.32      ($1,890.27)
 Total        $5,468.70       $8,386.93               $5,609.54              $9,434.52                       Total                      $1,673.32     ($1,890.27)
            Projected                           Projected                                                                               Current       Required
            Payment                           Disbursement                                              Description                     Balance        Balance
 Month                                                                                                                                                Projected
                                                                                                             Start                   ($1,890.27)      ($1,890.29)
 08/20         $522.04                                  $547.00                                           FLOOD SFR                     ($1,915.23)     ($1,915.25)
 08/20        $3,978.49                                    $0.00                                            BK ADJ                       $2,063.26       $2,063.24
 09/20         $522.04                                     $0.00                                                                         $2,585.30       $2,585.28
 10/20         $522.04                                     $0.00                                                                          $3,107.34       $3,107.32
 11/20         $522.04                                 $1,444.52                                         COUNTY TAX                      $2,184.86       $2,184.84
 12/20         $522.04                                     $0.00                                                                         $2,706.90       $2,706.88
 01/21         $522.04                                     $0.00                                                                         $3,228.94       $3,228.92
 02/21         $522.04                                     $0.00                                                                         $3,750.98       $3,750.96
 03/21         $522.04                                     $0.00                                                                         $4,273.02       $4,273.00
 04/21         $522.04                                     $0.00                                                                         $4,795.06       $4,795.04
 05/21         $522.04                                 $4,273.00                                         HAZARD SFR                      $1,044.10      $1,044.08<
 06/21         $522.04                                     $0.00                                                                          $1,566.14       $1,566.12
 07/21         $522.04                                     $0.00                                                                         $2,088.18       $2,088.16
 Total      $10,242.97                                $6,264.52                                              Total                      $2,088.18       $2,088.16

Bankruptcy Adjustment - The Prior Year Account History and Coming Year Projections section of the Annual Escrow Account Disclosure Statement may
contain a line item called "Bankruptcy Adjustment". This amount is a credit based upon the unpaid portion of the escrow funds listed on the proof of claim to
be paid through the Chapter 13 plan. The amount of the credit is calculated and applied to reach the minimum required balance for the escrow account as
allowed under the loan documents and applicable non-bankruptcy law. The credit may not represent the total outstanding amount of escrow funds owed in the
proof of claim but ensures that any escrow funds listed on the proof of claim to be paid through the plan will not be collected through the escrow shortage or
surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the proof of claim escrow funds are listed as a credit to
reach the required minimum account balance.

You will receive an Annual Escrow Account Disclosure Statement reﬂecting the actual disbursements at the end of the next escrow analysis cycle. However,
you should keep this statement for your own records for comparison. If a previous escrow analysis statement was sent to you by your previous servicer, please
refer to that statement for comparison purposes. If you have any questions, please call Christina Lorenzo at 866-316-2432. Our hours of operation are Monday
through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.mrcooper.com for more information.
Note: Any disbursements listed after the date of this statement are assumed to be projected or estimated.
